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FoR THE WESTERN DISTRICT oF TENNESSEE U‘b r-t,€:`.=“' z § 954 2, §§
WESTERN DIVISION “’
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UNITED STATES OF AMER]CA,

VS. NO. 04-20333-Ma
LAMBERT McDANIEL,

Defendant.

 

ORDER RESETTTNG SENTENCING DATE

 

Bet`ore the court is the government’s May 10, 2005 motion to continue the sentencing
hearing of defendant Larnbert McDaniei. For good cause shown, the motion is granted The
Sentencing of defendant Larnbert McDaniel is reset to Tuesday, June 14, 2005 at 9:00 a.m.

lt is so ORDERED this ll 'V<iay of May, 2005.

y/W/LH

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CR-20333 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

